Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 1 of 37




                              EXHIBIT 1

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 2 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

    U.S. Statement of Facts        BP Response          Transocean Response                    Anadarko Response
    [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]   [Rec. Doc. 5103-1]                     [Rec. Doc. 5113-3]

1   BP acquired Lease OCS-G        Uncontested for      Undisputed.                            Anadarko does not dispute that BP
    32306 for Block 252,           purposes of this                                            Exploration & Production, Inc. (“BP”)
    Mississippi Canyon, OCS        Motion.              [evidentiary objections omitted from   acquired Lease OCS-G 32306 for Block 252,
    Official Protraction                                chart as this fact is undisputed]      Mississippi Canyon, effective June 1, 2008
    Diagram, NH 16-10                                                                          (“Macondo Lease”).
    (“Lease”), effective June 1,
    2008.
2   An exploratory well was        Uncontested for      Undisputed.                            Anadarko does not dispute that the
    constructed on Block 252,      purposes of this                                            Macondo Well, an exploratory well, was
    Mississippi Canyon, the        Motion.              [evidentiary objections omitted from   being constructed on Block 252, Mississippi
    “Macondo Well.”                                     chart as this fact is undisputed]      Canyon.

3   The Macondo Well is            Uncontested for      Undisputed.                            Anadarko does not dispute that the
    located on the Outer           purposes of this                                            Macondo Well is located on the Outer
    Continental Shelf              Motion.              [evidentiary objections omitted from   Continental Shelf, approximately 50 miles
    approximately 50 miles                              chart as this fact is undisputed]      from the Mississippi River delta.
    from the Mississippi River
    delta.
4   From at least October 1,       Uncontested for      Disputed that the Transocean           Anadarko does not dispute that from at
    2009, the MODU                 purposes of this     Marianas was owned or operated by      least October 1, 2009, the Transocean
    Transocean Marianas was        Motion.              any of the Transocean Defendants       Marianas, a mobile offshore drilling unit
    owned and/or                                        other than Transocean Holdings LLC.    (“MODU”), was owned and/or operated by
    operated by the                                     The Transocean Defendants’ Answer      the Transocean Defendants, and that in
    Transocean Defendants. On                           to the United States Complaint cited   October 2009, the Transocean Marianas
    or about October 2009, the                          supports only that “one or more of     was used for drilling the Macondo Well.
    Transocean Marianas                                 the Transocean Defendants were the
    began to be used for                                managing owners, owners pro hac
    drilling of the Macondo                             vice, and/or operators of the MODU
    Well.                                               Transocean Marianas” (emphasis
                                                        added.)


                                                                      1
                     Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 3 of 37
                  CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                   PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

    U.S. Statement of Facts      BP Response            Transocean Response                      Anadarko Response
    [Rec. Doc. 4836-2]           [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]                       [Rec. Doc. 5113-3]

                                                        Undisputed that (1) Triton Asset
                                                        Leasing GmbH was the legal owner of
                                                        the Transocean Marianas and
                                                        bareboat chartered the vessel to
                                                        Transocean Holdings LLC; (2)
                                                        Transocean Holdings LLC bareboat
                                                        chartered the Transocean Marianas
                                                        from Triton Asset Leasing GmbH and
                                                        had a drilling contract for the vessel
                                                        with BP pursuant to which beginning
                                                        in or about October 2009 the vessel
                                                        was used in drilling operations at the
                                                        Macondo Well; and (3) by virtue of
                                                        the bareboat charter, Transocean
                                                        Holdings LLC was both the owner pro
                                                        hac vice and the operator of the
                                                        Transocean Marianas.

                                                        [evidentiary objections omitted]

5   Beginning on or about        Uncontested for        Undisputed.                              Anadarko does not dispute that the MODU
    February 2010, the MODU      purposes of this                                                Deepwater Horizon replaced the
    Deepwater Horizon            Motion, provided       [evidentiary objections omitted]         Transocean Marianas for the purpose of
    replaced the                 that the                                                        continuing drilling of the Macondo Well,
    Transocean Marinas for the   government                                                      and that drilling of the Macondo Well by
    purpose of continuing the    intended to refer to                                            the Deepwater Horizon continued in
    drilling of the Macondo      the Transocean                                                  February 2010 and through March and a
    Well. Drilling of the        Marianas.                                                       portion of April 2010.
    Macondo Well using the
    Deepwater Horizon
    continued in February 2010

                                                                      2
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 4 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

    U.S. Statement of Facts       BP Response             Transocean Response                Anadarko Response
    [Rec. Doc. 4836-2]            [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                 [Rec. Doc. 5113-3]

    and through March and a
    portion of April 2010.
6   The Deepwater Horizon is a    Uncontested for         Undisputed.                        Anadarko objects to U.S. Statement 6
    vessel.                       purposes of this                                           because whether the Deepwater Horizon
                                  Motion.                 [evidentiary objections omitted]   was a “vessel” for purposes of applicable law
                                                                                             is a question of law, not a question of fact.
                                                                                             Nevertheless, Anadarko does not dispute
                                                                                             that, as a matter of law, the Deepwater
                                                                                             Horizon, including its appurtenances, the
                                                                                             blowout preventer and riser, was a vessel.
                                                                                             See B1 Order, at 4-7.




7   The Deepwater Horizon is a    Uncontested for         Undisputed.                        Anadarko does not dispute that the
    mobile offshore drilling      purposes of this                                           Deepwater Horizon was a mobile offshore
    unit.                         Motion.                 [evidentiary objections omitted]   drilling unit.

8   Casings, tubulars, the well   It is uncontested for   Undisputed.                        Anadarko objects to U.S. Statement 8
    head and/or other             purposes of this                                           because the reference to “and/or other
    components of the             Motion that, as the     [evidentiary objections omitted]   components” is vague and ambiguous.
    Macondo Well were             authority cited by                                         Nevertheless, Anadarko does not dispute
    installed in the wellbore     the government                                             that certain casings, tubulars, and the
    prior to April 20, 2010.      indicates, “As of                                          wellhead were components of the
                                  April 20, 2010,                                            Macondo Well, and were installed in the
                                  various sub-sea                                            Macondo wellbore prior to April 20, 2010.
                                  equipment and
                                  components of the
                                  Macondo Well had
                                  been installed on or

                                                                        3
                        Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 5 of 37
                     CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                      PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response             Transocean Response                Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                 [Rec. Doc. 5113-3]

                                    below the seafloor
                                    of the
                                    Outer Continental
                                    Shelf, including, but
                                    not limited to, the
                                    well casing and the
                                    well head.”
                                    See BP Answer ¶ 45.

9    The Macondo Well is an         Uncontested for         Undisputed.                        Anadarko objects to U.S. Statement 9
     “offshore facility” for        purposes of this                                           because whether the Macondo Well is an
     purposes of the Clean          Motion.                 [evidentiary objections omitted]   “offshore facility” for purposes of the Clean
     Water Act, 33                                                                             Water Act, 33 U.S.C. § 1321(b), and the Oil
     U.S.C. § 1321(b), and the                                                                 Pollution Act, 33 U.S.C. § 2701 et seq., is a
     Oil Pollution Act, 33 U.S.C.                                                              question of law, not a question of fact.
     § 2701 et al.                                                                             Nevertheless, Anadarko does not dispute
                                                                                               that, as a matter of law, the Macondo Well,
                                                                                               excluding the attached appurtenances of
                                                                                               the Deepwater Horizon, constitutes an
                                                                                               “offshore facility” within the meaning of
                                                                                               the Clean Water Act, 33 U.S.C. § 1321(a)(11)
                                                                                               and (b), and the Oil Pollution Act, 33 U.S.C.
                                                                                               § 2701 et seq.
10   The Macondo Well cement        Uncontested for         Undisputed.                        Anadarko objects to U.S. Statement 10 to
     job was critical for           purposes of this                                           the extent that the phrase “Macondo Well
     maintaining well control.      Motion.                                                    cement job” is vague and ambiguous.
                                                                                               Anadarko further objects to the extent that
                                                                                               the term “critical” is vague, ambiguous, and
                                                                                               a statement of opinion, not a statement of
                                                                                               fact. Nevertheless, Anadarko does not
                                                                                               dispute that the Macondo Well’s

                                                                          4
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 6 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts       BP Response             Transocean Response                Anadarko Response
     [Rec. Doc. 4836-2]            [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                 [Rec. Doc. 5113-3]

                                                                                              production casing cement job was a means
                                                                                              of maintaining well control.
11   The Macondo Well’s            It is uncontested for   Undisputed.                        Anadarko objects to the extent that the
     cement job failed to          purposes of this                                           phrase “the Macondo Well’s cement job” is
     prevent hydrocarbons from     Motion that the         [evidentiary objections omitted]   vague and ambiguous. Nevertheless,
     migrating into the            cement job failed to                                       Anadarko does not dispute that the
     wellbore.                     prevent all                                                Macondo Well’s production casing cement
                                   hydrocarbons from                                          job failed to prevent hydrocarbons in the
                                   migrating into the                                         formation from migrating into the wellbore.
                                   well bore. It is
                                   contested whether
                                   the cement job
                                   reduced the amount
                                   of hydrocarbons
                                   entering the
                                   wellbore.
                                   Additionally, issues
                                   related to flow rate
                                   are scheduled to be
                                   adjudicated in Phase
                                   2.
12   On April 20, 2011, there      Uncontested for         Undisputed.                        Anadarko does not dispute that on April 20,
     was a blowout of the          purposes of this                                           2010, there was a blowout of the Macondo
     Macondo Well, and fires       Motion.                 [evidentiary objections omitted]   Well, and fires and explosions on the
     and explosions on the                                                                    drilling rig Deepwater Horizon.
     drilling rig Deepwater
     Horizon.
13   Eleven men died as a result   Uncontested for         Undisputed.                        Anadarko objects because U.S. Statement 13
     of the blowout.               purposes of this                                           is not a statement of fact that is material to
                                   Motion.                 [evidentiary objections omitted]   any of the issues raised in the United States’
                                                                                              Motion for Partial Summary Judgment.

                                                                         5
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 7 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts       BP Response          Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]            [Rec. Doc. 5124-1]   [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                                                                                  Anadarko further objects to the extent that
                                                                                                  the phrase “as a result of the blowout” is
                                                                                                  vague and ambiguous. Anadarko does not
                                                                                                  dispute that eleven men lost their lives as a
                                                                                                  result of the blowout, explosions, and fires
                                                                                                  on the Deepwater Horizon.
14   Following the blowout on      Uncontested for      Undisputed that following the             Anadarko does not dispute that following
     April 20, 2010, there was a   purposes of this     blowout on April 20, 2010, there was      the blowout on April 20, 2010, there was a
     discharge of oil into the     Motion.              a discharge of oil below the surface of   discharge of oil into the Gulf of Mexico.
     Gulf of Mexico.                                    the water from the Macondo Well
                                                        into the Gulf of Mexico.

                                                        Disputed that there was a discharge of
                                                        oil into the Gulf of Mexico on or above
                                                        the surface of the water. The United
                                                        States has not submitted evidence (let
                                                        alone admissible evidence) to show
                                                        that there was a discharge of oil on or
                                                        above the surface of the water. Even if
                                                        there were any evidence of oil from
                                                        the Macondo Well that reached the
                                                        Deepwater Horizon, it would have
                                                        combusted before it reached the
                                                        surface of the water. See United
                                                        States Complaint (Doc. #1 in Case No.
                                                        10-cv-4536) ¶57 (“As a result of the
                                                        April 20,2010 uncontrolled well event
                                                        and uncontrolled blowout, multiple
                                                        explosions and fires occurred aboard
                                                        the Deepwater Horizon.”); Winslow
                                                        Deposition, April 20, 2011, at 10:25-

                                                                     6
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 8 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts      BP Response            Transocean Response                        Anadarko Response
     [Rec. Doc. 4836-2]           [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]                         [Rec. Doc. 5113-3]

                                                         11:21, 146:22-147:9, 167:20-168:6,
                                                         172:18-173:3, 173:8-20, 176:1-12,
                                                         183:11-25, 203:23-204:11, 205:10-18,
                                                         207:9-14, 221:2-12, 241:16-18,
                                                         259:13-22, 260:1-22 (Exhibit 1
                                                         attached) (explosions and huge fire on
                                                         Deepwater Horizon continuing until
                                                         the vessel sank; water was not on fire
                                                         until after the rig sank; no evidence of
                                                         discharge on or above surface of the
                                                         water).

                                                         BP’s Answer to the United States
                                                         Complaint and Anadarko’s responses
                                                         to the United States Requests for
                                                         Admission are hearsay and not
                                                         admissible evidence as to the
                                                         Transocean Defendants.

                                                         The Presidential Commission Report is
                                                         inadmissible hearsay.
15   Oil from the MC 252          It is uncontested      Disputed. No admissible evidence is        Anadarko does not dispute that oil from the
     reservoir flowed through     that oil that once     submitted as to the Transocean             MC 252 reservoir flowed through the
     the Macondo Well and was     existed deep inside    Defendants to support this statement.      Macondo Well and was discharged to the
     discharged to                the Outer                                                         Gulf of Mexico from the Deepwater Horizon
     the Gulf of Mexico from      Continental Shelf      BP’s Answer and Anadarko’s                 and then from the broken riser pipe and/or
     the Deepwater Horizon and    travelled during the   responses to the United States             BOP after the main body of the Deepwater
     then from the broken riser   spill out of the       Requests for Admission are hearsay         Horizon’s sinking.
     pipe and/or BOP after the    Macondo reservoir,     and not admissible as to the
     Deepwater Horizon’s          through the well,      Transocean Defendants.
     sinking.                     and then through

                                                                      7
                 Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 9 of 37
              CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
               PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

U.S. Statement of Facts   BP Response           Transocean Response                        Anadarko Response
[Rec. Doc. 4836-2]        [Rec. Doc. 5124-1]    [Rec. Doc. 5103-1]                         [Rec. Doc. 5113-3]

                          Transocean-owned      Disputed that oil was discharged from
                          vessel                the Deepwater Horizon into the Gulf
                          appurtenances         of Mexico. The United States has not
                          including the BOP     submitted any evidence (let alone
                          and riser, before     admissible evidence as to the
                          discharging into      Transocean Defendants) to support
                          Gulf of Mexico        that oil was discharged into the Gulf of
                          waters or being       Mexico from the Deepwater Horizon.
                          captured by various   Even if there were any evidence of oil
                          containment           from the Macondo Well that reached
                          methods.              the Deepwater Horizon, it would have
                                                combusted before it reached the
                          BP contests the       surface of the water. [See Transocean
                          government’s legal    Response to No. 14 for citations.]
                          conclusions
                          premised on this      In particular, disputed that oil was
                          paragraph for the     discharged into the Gulf of Mexico
                          reasons stated in     from the BOP or riser or from the
                          the accompanying      vessel within the meaning of the civil
                          memorandum of         penalty provisions of the Clean Water
                          law filed by BP.      Act (“CWA”), 33 U.S.C. §1321(b)(7)(A).

                                                Even if BP’s Answer were admissible
                                                against the Transocean Defendants,
                                                the language cited by the United
                                                States does not support that oil was
                                                discharged into the Gulf of Mexico
                                                “from” the riser or BOP. See BP
                                                Answer ¶61 (“oil flowed, inter alia,
                                                through the BOP stack, the marine
                                                riser, and/or other equipment.”

                                                             8
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 10 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts       BP Response             Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]            [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                                           (emphasis added)).
16   The discharge also            BP does not contest     Undisputed that oil was discharged        Anadarko objects to the United States’
     emanated from the             that the discharge      from the Macondo Well through the         mischaracterization of the discharge as
     Deepwater Horizon vessel,     emanated from the       BOP and riser into the Gulf of Mexico     “also” emanating from the Deepwater
     including from its            Deepwater Horizon       below the surface of the water.           Horizon. Anadarko does not dispute that
     appurtenances, the BOP        vessel, including its                                             the discharge emanated from the
     and riser, into the Gulf of   appurtenances, the      Disputed that oil was discharged from     Deepwater Horizon vessel, that the BOP
     Mexico.                       BOP and riser, into     the Deepwater Horizon into the Gulf       and riser were appurtenances of the
                                   the Gulf of Mexico.     of Mexico. The United States has not      Deepwater Horizon, and that oil discharged
                                                           submitted any evidence (let alone         from the BOP and riser into the Gulf of
                                   BP does contest the     admissible evidence as to the             Mexico.
                                   United States’ use in   Transocean Defendants) to support
                                   this paragraph of       that oil was discharged from the
                                   the word “also,”        Deepwater Horizon.
                                   which implies that
                                   oil was also            Even if there were any evidence of oil
                                   discharged from         from the Macondo Well that reached
                                   structures other        the Deepwater Horizon, it would have
                                   than the Deepwater      combusted before it reached the
                                   Horizon and its         surface of the water. [See citations in
                                   appurtenances. [See     support of Transocean’s response to
                                   BP response to          Paragraph No. 14]
                                   paragraph 15
                                   above]                  Disputed that oil was discharged into
                                                           the Gulf of Mexico from the BOP or
                                                           riser or from the vessel within the
                                                           meaning of the civil penalty provisions
                                                           of the CWA, 33 U.S.C. §1321(b)(7)(A).
                                                           The Transocean Investigation Report
                                                           (Ex. 25) and the Transocean BOP
                                                           Video at most show only that oil

                                                                        9
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 11 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts     BP Response          Transocean Response                     Anadarko Response
     [Rec. Doc. 4836-2]          [Rec. Doc. 5124-1]   [Rec. Doc. 5103-1]                      [Rec. Doc. 5113-3]

                                                      flowed from the Macondo Well
                                                      through the BOP and riser into the
                                                      Gulf of Mexico below the surface of
                                                      the water.

                                                      Even if BP’s Answer were admissible
                                                      against the Transocean Defendants,
                                                      the language cited by the United
                                                      States does not support that oil was
                                                      discharged into the Gulf of Mexico
                                                      “from” the riser or BOP. See BP
                                                      Answer ¶61 (“oil flowed, inter alia,
                                                      through the BOP stack, the marine
                                                      riser, and/or other equipment.”
                                                      (emphasis added)).
17   The oil caused a film or    Uncontested for      Undisputed that oil released from the   Anadarko does not dispute that the oil
     sheen or discoloration on   purposes of this     Macondo Well below the surface of       caused a film, sheen, or discoloration on
     the surface of the water.   Motion.              the water caused a film, sheen or       the surface of the water of the Gulf of
                                                      discoloration on the surface of the     Mexico.
                                                      water.

                                                      [evidentiary objections omitted]

                                                      Disputed that a “film”, “sheen” or
                                                      “discoloration” on the surface of the
                                                      water was caused by oil discharged
                                                      from the Deepwater Horizon. The
                                                      United States has not submitted any
                                                      evidence to support that oil was
                                                      discharged from the Deepwater
                                                      Horizon. Even if there were any

                                                                  10
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 12 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts       BP Response            Transocean Response                        Anadarko Response
     [Rec. Doc. 4836-2]            [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]                         [Rec. Doc. 5113-3]

                                                          evidence of oil from the Macondo
                                                          Well that reached the Deepwater
                                                          Horizon, it would have combusted
                                                          before it reached the surface of the
                                                          water. [See TO Response to Paragraph
                                                          14, above, for citations]

                                                          Disputed that a “film”, “sheen” or
                                                          “discoloration” on the surface of the
                                                          water was caused by oil discharged
                                                          from the BOP or riser or from the
                                                          vessel within the meaning of the civil
                                                          penalty provisions of the CWA, 33
                                                          U.S.C. §1321(b)(7)(A). The United
                                                          State’s citation to paragraph 14 of
                                                          its Statement of Undisputed Material
                                                          Facts in support of its first Motion for
                                                          Partial Summary Judgment supports
                                                          only that there was a film, sheen or
                                                          discoloration on the surface of the
                                                          water. It does not identify or address
                                                          the source of the oil causing the film,
                                                          sheen or discoloration.
18   The discharge of oil was in   Uncontested for        Undisputed that the discharge of oil       Anadarko objects to the extent that whether
     such quantities as may be     purposes of this       from the Macondo Well was in such          oil is discharged “in such quantities as may
     harmful.                      Motion exclusively     quantities as may be harmful.              be harmful” is a question of law, not a
                                   as it relates to the                                              question of fact. Anadarko further states
                                   phrase “in such        [evidentiary objections omitted]           that, for purposes of Section 311(b)(4) of the
                                   quantities as may                                                 Clean Water Act, 42 U.S.C. § 1321(b)(4), the
                                   be harmful as          Disputed that there was any discharge      Environmental Protection Agency (“EPA”)
                                   determined by the      of oil from the Deepwater Horizon in a     has determined that discharges of oil that

                                                                       11
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 13 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response             Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                    President under         quantity as may be harmful or in any      “[c]ause a film or sheen upon or
                                    paragraph (4) of        quantity. The United States has not       discoloration of the surface of the water or
                                    this subsection”        submitted any evidence (let alone         adjoining shorelines or cause a sludge or
                                    appearing in Clean      admissible evidence as to the             emulsion to be deposited beneath the
                                    Water Act Section       Transocean Defendants) to support         surface of the water or upon adjoining
                                    311(b)(3), 33 U.S.C.    that oil was discharged from the          shorelines” are “harmful to the public health
                                    § 1321(b)(3).           Deepwater Horizon.                        or welfare or the environment of the United
                                                                                                      States.” 40 C.F.R. § 110.3. Anadarko does
                                    However, BP             Even if there were any evidence of oil    not dispute that, under the applicable
                                    reserves all of its     from the Macondo Well that reached        regulations, the discharge of oil from the
                                    legal defenses in (a)   the Deepwater Horizon, it would have      Deepwater Horizon was in such quantities
                                    its Answer              combusted before it reached the           as may be harmful to the public health or
                                    concerning the          surface of the water. [See TO             welfare or the environment of the United
                                    extent of any harm      Response to Paragraph 14, above, for      States.
                                    alleged to have         citations]
                                    occurred to person,
                                    property, or the        Disputed that there was any discharge
                                    environment, as         of oil from the BOP or riser or from
                                    well as in (b) its      the vessel within the meaning of the
                                    Answer to the B1        civil penalty provisions of the CWA, 33
                                    and B3 Master           U.S.C. §1321(b)(7)(A), in a quantity as
                                    Complaints.             may be harmful or in any quantity.
19   Some of the oil spread to      Uncontested for         Undisputed that oil from the              Anadarko does not dispute that some of
     within 200 nautical miles of   purposes of this        Macondo                                   the oil discharged from the Deepwater
     the United States’             Motion.                 Well spread to within 200 nautical        Horizon spread to within 200 nautical miles
     coastline.                                             miles of the United States coastline.     of the United States’ coastline.

                                                            [evidentiary objections omitted]

                                                            Disputed that there was any oil
                                                            discharged from the Deepwater

                                                                        12
                Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 14 of 37
              CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
               PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

U.S. Statement of Facts   BP Response          Transocean Response                        Anadarko Response
[Rec. Doc. 4836-2]        [Rec. Doc. 5124-1]   [Rec. Doc. 5103-1]                         [Rec. Doc. 5113-3]

                                               Horizon, let alone oil that spread to
                                               within 200 nautical miles of the United
                                               States coastline. The United States’
                                               citation to paragraph 15 of its
                                               Statement of Undisputed Material
                                               Facts in support of its first Motion for
                                               Partial Summary Judgment provides
                                               no evidence to show that any oil
                                               discharged from the Deepwater
                                               Horizon spread to within 200
                                               miles of the United States’ coastline.
                                               The United States has not submitted
                                               any evidence (let alone admissible
                                               evidence as to the Transocean
                                               Defendants) to support that oil was
                                               discharged from the Deepwater
                                               Horizon. Even if there were any
                                               evidence of oil from the Macondo
                                               Well that reached the Deepwater
                                               Horizon, it would have combusted
                                               before it reached the surface of the
                                               water. [See TO Response to Paragraph
                                               14, above, for citations]

                                               Disputed that there was any discharge
                                               of oil from the BOP or riser or from
                                               the vessel within the meaning of the
                                               civil penalty provisions of the CWA, 33
                                               U.S.C. §1321(b)(7)(A). Even if the
                                               language from BP’s Answer cited by
                                               the United States were admissible as

                                                            13
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 15 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts     BP Response          Transocean Response                        Anadarko Response
     [Rec. Doc. 4836-2]          [Rec. Doc. 5124-1]   [Rec. Doc. 5103-1]                         [Rec. Doc. 5113-3]

                                                      to the Transocean Defendants, as
                                                      quoted by the United States it would
                                                      support only that “some of the oil
                                                      [from the Macondo Well] reached the
                                                      shoreline of the United States.”
                                                      (emphasis added.)
20   Some of the oil spread to   Uncontested for      Undisputed that oil from the               Anadarko does not dispute that some of
     within 3 miles of the       purposes of this     Macondo Well spread to within 3            the oil discharged from the Deepwater
     coastline of the United     Motion.              miles of the United States coastline       Horizon spread to within three miles of
     States and onto adjoining                        and onto adjoining shorelines.             some of the coastline of the United States
     shorelines.                                                                                 and onto some adjoining shorelines.
                                                      [evidentiary objections omitted]

                                                      Disputed that there was any oil
                                                      discharged from the Deepwater
                                                      Horizon, let alone oil that spread to
                                                      within 3 miles of the coastline of the
                                                      United States and onto adjoining
                                                      shorelines. The United State’s
                                                      citation to paragraph 15 of its
                                                      Statement of Undisputed Material
                                                      Facts in support of its first Motion for
                                                      Partial Summary Judgment provides
                                                      no evidence to show that any oil
                                                      discharged from the Deepwater
                                                      Horizon spread to within 3 miles of the
                                                      United States’ coastline and/or onto
                                                      adjoining shorelines. The United
                                                      States has not submitted any evidence
                                                      (let alone admissible evidence as to
                                                      the Transocean Defendants) to

                                                                   14
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 16 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response             Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                                            support that oil was discharged from
                                                            the Deepwater Horizon.

                                                            Even if there were any evidence of oil
                                                            from the Macondo Well that reached
                                                            the Deepwater Horizon, it would have
                                                            combusted before it reached the
                                                            surface of the water. [See TO
                                                            Response to Paragraph 14, above, for
                                                            citations]

                                                            Disputed that there was any discharge
                                                            of oil from the BOP or riser or from
                                                            the vessel within the meaning of the
                                                            civil penalty provisions of the CWA, 33
                                                            U.S.C. §1321(b)(7)(A). Even if the
                                                            language from BP’s Answer cited by
                                                            the United States were admissible as
                                                            to the Transocean Defendants, it
                                                            would support only that “some of the
                                                            oil from the Macondo Well reached
                                                            the shoreline of the United States”.
                                                            (emphasis added.)
21   The uncontrolled flow of oil   It is uncontested for   Undisputed that oil from the              Anadarko objects to the extent that the
     continued for several          purposes of this        Macondo Well continued to flow for        phrase “several months thereafter” is vague
     months thereafter.             Motion that, as         several months after April 20, 2010.      and ambiguous. Anadarko does not dispute
                                    indicated in the                                                  that oil discharged from the Deepwater
                                    authority relied        [evidentiary objections omitted]          Horizon’s broken riser until July 15, 2010.
                                    upon by the                                                       The amount of oil flowing from the
                                    government, oil         Disputed that there was any oil           Deepwater Horizon and efforts to control
                                    flowed into the Gulf    discharged from the Deepwater             such discharge are to be addressed in Phase

                                                                        15
                Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 17 of 37
              CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
               PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

U.S. Statement of Facts   BP Response           Transocean Response                        Anadarko Response
[Rec. Doc. 4836-2]        [Rec. Doc. 5124-1]    [Rec. Doc. 5103-1]                         [Rec. Doc. 5113-3]

                          of Mexico for a       Horizon, let alone oil that continued to   Two Discovery, which is ongoing.
                          period of             flow for several months. The United
                          approximately 85-     States’ citation to paragraph 15
                          87 days. See BP       of its Statement of Undisputed
                          Answer ¶ 1. BP        Material Facts in support of its first
                          disputes, and the     Motion for Partial Summary Judgment
                          authority cited       provides no evidence to show that any
                          by the government     oil discharged from the Deepwater
                          does not establish,   Horizon as opposed to a discharge
                          that the flow was     from the Macondo Well continued to
                          “uncontrolled”        flow for several months after April 20,
                          during the entirety   2010. Even Transocean’s statement in
                          of that period. See   a brief directed to Trial Plan Issues
                          id.                   were admissible evidence against the
                                                Transocean Defendants in support of
                                                this Motion for Partial Summary
                                                Judgment, the cited statement from
                                                the brief does not support that any oil
                                                discharged from the Deepwater
                                                Horizon as opposed to a discharge
                                                from the Macondo Well continued to
                                                flow for several months after April 20,
                                                2010.

                                                Disputed that there was any discharge
                                                of oil from the BOP or riser or from
                                                the vessel within the meaning of the
                                                civil penalty provisions of the CWA, 33
                                                U.S.C. §1321(b)(7)(A).




                                                             16
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 18 of 37
                     CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                      PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts         BP Response             Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]              [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                                             Even if the language from BP’s Answer
                                                             cited by the United States were
                                                             admissible as to the Transocean
                                                             Defendants, it would support only that
                                                             “oil flowed into the Gulf of Mexico
                                                             from the Macondo well for 87
                                                             days”).” (emphasis added.) Similarly,
                                                             even if Anadarko’s response to the
                                                             United States Request for Admission
                                                             cited by the United States were
                                                             admissible against the Transocean
                                                             Defendants, it would support only that
                                                             “oil flowed from the Macondo Well
                                                             and was discharged into the Gulf of
                                                             Mexico.” (emphasis added.)

22   The Macondo Well was            Uncontested for         Undisputed.                               Anadarko objects to the extent that the
     capped on July 15, 2010.        purposes of this                                                  phrase “the Macondo Well was capped” is
                                     Motion.                 [evidentiary objections omitted]          vague and ambiguous. Anadarko does not
                                                                                                       dispute that the discharge of oil from the
                                                                                                       Deepwater Horizon’s appurtenances ceased
                                                                                                       on July 15, 2010.
23   On or about November 18,        It is uncontested for   The Transocean Defendants object          Anadarko does not dispute that on
     2009, BP and MOEX               purposes of this        that this statement is irrelevant as to   November 18, 2009, BP and MOEX Offshore
     executed a Lease Exchange       Motion that BP and      the Transocean Defendants.                2007 (“MOEX”) executed a Lease Exchange
     Agreement, whereby BP           MOEX executed                                                     Agreement. Anadarko further states that
     assigned to MOEX a 10%          such an Agreement.      [evidentiary objections omitted]          under the Lease Exchange Agreement, BP
     interest in the Lease. (Ex. 1   The Lease Exchange                                                agreed to assign to MOEX a 10% Record
     hereto).                        Agreement speaks                                                  Title Interest in the Macondo Lease. Such
                                     for itself. Its                                                   assignment was to be in the form of that
                                     interpretation is a                                               found in Exhibit B to the Lease Exchange

                                                                           17
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 19 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response              Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]       [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                    question of law.                                                   Agreement executed by the parties. Lease
                                                                                                       Exchange Agreement between BP and
                                                                                                       MOEX, Dep. Ex. 1244, DWHMX00000247 at
                                                                                                       §§ 1.3, 2(a) (10/1/2009; executed
                                                                                                       11/18/2009) (Ex. 5 hereto); see also Exhibit B
                                                                                                       to Lease Exchange Agreement between BP
                                                                                                       and MOEX, BPHZN-2179MDL00339265 (Ex.
                                                                                                       5A hereto).
24   After MOEX and BP              It is uncontested for    The Transocean Defendants object          Anadarko does not dispute that after MOEX
     executed the assignment, it    purposes of this         that this statement is irrelevant as to   and BP executed the assignment pursuant
     was submitted to MMS,          Motion that BP and       the Transocean Defendants.                to the Lease Exchange Agreement between
     which approved the             MOEX executed                                                      the two entities, it was submitted to the
     assignment on February 23,     such an assignment.      [evidentiary objections omitted]          Minerals Management Service (“MMS”),
     2010.                          The assignment                                                     which approved the assignment to MOEX
                                    speaks for itself. Its                                             on February 23, 2010. Anadarko further
                                    interpretation is a                                                states that such assignment was effective
                                    question of law.                                                   October 1, 2009, as approved by MMS.
                                                                                                       MMS Online Agency Records Serial Register
                                                                                                       Page, IMS059-014814 at 4814 (Ex. 13
                                                                                                       hereto) (“Agency Records”).
25   BP assigned a 22.5%            It is uncontested for    The Transocean Defendants object          Anadarko does not dispute that, on
     Record Title Interest in the   purposes of this         that this statement is irrelevant as to   December 17, 2009, BP executed an
     Lease to A E&P Company         Motion that BP           the Transocean Defendants.                assignment of a 22.5% Record Title Interest
     LP (“A E&P”), effective        executed such an                                                   in the Macondo Lease to AE&P. Anadarko
     October 1, 2009. BP            assignment. The          [evidentiary objections omitted]          does not dispute that AE&P submitted the
     executed the assignment        assignment speaks                                                  assignment to the MMS on February 11,
     on or about December 17,       for itself. Its                                                    2010, and that the MMS approved
     2009, A E&P submitted the      interpretation is a                                                the assignment on February 23, 2010.
     assignment to MMS on           question of law.                                                   Anadarko further states that it is
     February 11, 2010,                                                                                undisputed that the Lease Exchange
     and MMS approved the                                                                              Agreement between BP, APC, and AE&P

                                                                          18
                Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 20 of 37
              CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
               PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

U.S. Statement of Facts      BP Response          Transocean Response           Anadarko Response
[Rec. Doc. 4836-2]           [Rec. Doc. 5124-1]   [Rec. Doc. 5103-1]            [Rec. Doc. 5113-3]

assignment on February 23,                                                      contemplated a like-kind exchange of
2010.                                                                           interests in various leases. Lease Exchange
                                                                                Agreement, Dep. Ex. 2824, BP-HZN-
                                                                                2179MDL02319086 at §§ 1-2, 4 and Exhibit
                                                                                A-2 (10/1/2009; executed 12/17/2009) (Ex. 4
                                                                                hereto) (“Lease Exchange Agreement”).
                                                                                Anadarko also submits that the Lease
                                                                                Exchange Agreement provided that AE&P
                                                                                would not retain any interest in
                                                                                the Macondo Lease, and would not
                                                                                participate in the exploration of the
                                                                                Macondo Prospect. The Agreement
                                                                                provided that AE&P would assign its 22.5%
                                                                                interest in the Macondo Lease to APC upon
                                                                                the transfer from BP, such that APC would
                                                                                hold a 25% interest in the Macondo Lease.
                                                                                Id. at § 2.2 and Exhibit A-2. It is undisputed
                                                                                that BP and APC contemplated that APC
                                                                                would ultimately hold the full 25%
                                                                                Macondo Lease interest transferred from
                                                                                BP. Deposition of Michael Beirne, BP
                                                                                Offshore Land Negotiator (Ex. 35 hereto)
                                                                                (“Beirne Dep.”), at 242:16-19; 242:21-243:5.
                                                                                After BP assigned its interest to AE&P, as
                                                                                contemplated by the Lease Exchange
                                                                                Agreement, AE&P then executed an
                                                                                assignment of its interest to APC on April
                                                                                15, 2010, with an effective date of April 1,
                                                                                2010. Assignment of Record Title Interest in
                                                                                Federal OCS Oil and Gas Lease, Dep. Ex.
                                                                                2317, ANA-MDL-000023861 at 3862-63

                                                            19
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 21 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts         BP Response             Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]              [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                                                                                       (executed 4/15/2010) (Ex. 2 hereto)
                                                                                                       (“Assignment”).




26   BP assigned a 2.5% Record       It is uncontested for   The Transocean Defendants object          Anadarko does not dispute that BP assigned
     Title Interest in the Lease     purposes of this        that statement is irrelevant as to the    a 2.5% Record Title Interest in the Macondo
     to APC. BP executed the         Motion that BP          Transocean Defendants.                    Lease to APC, and that BP executed the
     assignment on or about          executed such an                                                  assignment on December 17, 2009.
     December 17, 2009, APC          assignment. The         [evidentiary objections omitted]          Anadarko also does not dispute that APC
     submitted the assignment        assignment speaks                                                 submitted the assignment to the MMS on
     to MMS on or about              for itself. Its                                                   or about February 12, 2010, and that the
     February 12, 2010, and          interpretation is a                                               MMS approved the assignment on February
     MMS approved the                question of law.                                                  23, 2010. This assignment was also effective
     assignment on February 23,                                                                        October 1, 2009. Agency Records at 4814
     2010.                                                                                             (Ex. 13 hereto).
27   On or about December 17,        It is uncontested for   The Transocean Defendants object          Anadarko does not dispute that on
     2009, APC, A E&P and BP         purposes of this        that this statement is irrelevant as to   December 17, 2009, APC, AE&P, and BP
     executed a Lease Exchange       Motion that BP, A       the Transocean Defendants.                executed a Lease Exchange Agreement,
     Agreement, whereby BP           E&P and APC                                                       whereby BP agreed to assign to APC and
     assigned to APC and A E&P       executed such an        [evidentiary objections omitted]          AE&P collectively a 25% interest in the
     collectively a 25% interest     Agreement. The                                                    Macondo Lease. See Anadarko Response to
     in the Lease. (Ex. 2 hereto).   Lease Exchange                                                    U.S. Statements 25-26, supra.
                                     Agreement speaks
                                     for itself. Its

                                                                          20
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 22 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response              Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]       [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                    interpretation is a
                                    question of law.
28   A E&P assigned its 22.5%       It is uncontested for    The Transocean Defendants object          Anadarko does not dispute that AE&P
     Record Title Interest in the   purposes of this         that this statement is irrelevant as to   assigned its 22.5% Record Title Interest in
     Lease to APC. A E&P            Motion that A E&P        the Transocean Defendants.                the Macondo Lease to APC, that AE&P
     submitted                      executed such an                                                   submitted the assignment to the MMS on
     the assignment to MMS on       assignment. The          [evidentiary objections omitted]          April 20, 2010, and that the MMS approved
     or about April 20, 2010,       assignment speaks                                                  the assignment on April 28, 2010. Anadarko
     and MMS approved the           for itself. Its                                                    also does not dispute that APC and AE&P
     assignment on April 28,        interpretation is a                                                had agreed to an effective date of April 1,
     2010. APC and A E&P had        question of law.                                                   2010. Anadarko submits that it is also
     agreed to an effective date                                                                       undisputed that on April 15, 2010, APC and
     of April 1, 2010.                                                                                 AE&P executed the Assignment of Record
                                                                                                       Title Interest by which AE&P assigned its
                                                                                                       22.5% interest in the Macondo lease to
                                                                                                       APC. Assignment at 3862-63 (Ex. 2 hereto). It
                                                                                                       is undisputed that the Assignment provided
                                                                                                       that it was “effective . . . as of April 1,
                                                                                                       2010,” and that MMS approved such
                                                                                                       effective date. Id. at 3862-63. It is also
                                                                                                       undisputed that MMS records state, on
                                                                                                       April 28, 2010, that APC held a 25% record
                                                                                                       title interest in the Macondo lease, and
                                                                                                       AE&P held no interest therein, “effective
                                                                                                       04/01/2010[.]” See Agency Records at 4815
                                                                                                       (Ex. 13 hereto).
29   As of April 20, 2010, MMS      The assignment           The Transocean Defendants object          Anadarko objects to U.S. Statement 29
     had not approved the A         speaks for itself. Its   that this statement is irrelevant as to   because whether AE&P held an interest in
     E&P reassignment of its        interpretation is a      the Transocean Defendants.                the Macondo Lease as of April 20, 2010 for
     interest in                    question of law.                                                   purposes of applicable law is a question of
     the Lease, and A E&P held                               [evidentiary objections omitted]          law, not a question of fact. Anadarko

                                                                          21
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 23 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts       BP Response             Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]            [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

     22.5% of the Lease.                                                                             disputes the United States’ legal conclusion
                                                                                                     that AE&P held a 22.5% interest in the
                                                                                                     Macondo Lease as of April 20, 2010.
                                                                                                     Anadarko does not dispute that as of April
                                                                                                     20, 2010, the MMS had not yet approved
                                                                                                     AE&P’s assignment of its interest in the
                                                                                                     Macondo Lease to APC.
30   After its assignments to      The agreements          The Transocean Defendants objects         Anadarko does not dispute that BP retained
     MOEX, APC and A E&P, BP       speak for               that this statement is irrelevant as to   a 65% interest in the Macondo Lease after
     retained a 65% interest in    themselves. Their       the Transocean Defendants.                its assignments to MOEX and Anadarko.
     the                           interpretation is a
     Lease.                        question of law.        [evidentiary objections omitted]
31   On or about December 17,      It is uncontested for   The Transocean Defendants object          Anadarko does not dispute that on
     2009, BP, APC and an APC      purposes of this        that this statement is irrelevant as to   December 17, 2009, BP, APC, and Kerr-
     subsidiary, Kerr-McGee Oil    Motion that BP,         the Transocean Defendants.                McGee Oil and Gas Corporation entered
     and                           APC, and an APC                                                   into a Well Participation Agreement for the
     Gas Corporation, also         subsidiary, Kerr-       [evidentiary objections omitted]          Macondo Prospect, whereby APC would
     entered into a Well           McGee Oil and Gas                                                 own a 25% interest in the Macondo Well.
     Participation Agreement       Corporation,                                                      Anadarko further states that it is
     for the Macondo               entered into such                                                 undisputed that the Well Participation
     Prospect, whereby APC         an Agreement. The                                                 Agreement provides that “APC owns an
     would own a 25% interest      Well Participation                                                undivided twenty five (25%) working
     in the Macondo Well. (Ex. 3   Agreement speaks                                                  interest in the Macondo Prospect Area
     hereto).                      for itself. Its                                                   following execution of the Lease Exchange
                                   interpretation is a                                               Agreement . . . and a subsequent
                                   question of law.                                                  assignment from its Affiliate Anadarko E&P
                                                                                                     Company, LP (‘AEP’) of AEP’s Record Title
                                                                                                     Interest in the Macondo Prospect Area.”
                                                                                                     Macondo Prospect Well Participation
                                                                                                     Agreement, Dep. Ex. 2825, BP-HZN-
                                                                                                     2179MDL02319125 (10/1/2009; executed

                                                                        22
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 24 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response             Transocean Response                       Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                        [Rec. Doc. 5113-3]

                                                                                                      12/17/2009) (Ex. 7 hereto) (“Well
                                                                                                      Participation Agreement”) at 9125; see also
                                                                                                      Anadarko’s Response to U.S. Statement 28,
                                                                                                      supra.
32   As consideration for its       The Well                The Transocean Defendants object          Anadarko does not dispute that in
     25% proportionate share of     Participation           that this statement is irrelevant as to   exchange for a 25% share in the Initial
     the Macondo Well, BP and       Agreement speaks        the Transocean Defendants.                Exploratory Well (“IEW”) being drilled on
     APC agreed that APC would      for itself. Its                                                   the Macondo leasehold, BP and APC agreed
     pay “1/3 for 1/4,” or          interpretation is a     [evidentiary objections omitted]          that APC would pay 33.33% of up to 110%
     33.33% of up to 110% of        question of law.                                                  of the estimated costs of the IEW, as set
     the estimated costs of the                                                                       forth in the Initial Authorization for
     Macondo Well as set forth                                                                        Expenditure.
     in the Initial Authorization
     for Expenditure.
33   On or about November 18,       It is uncontested for   The Transocean Defendants objects         Anadarko does not dispute that on
     2009, BP and MOEX              purposes of this        that this statement is irrelevant as to   November 18, 2009, BP and MOEX
     executed a Joint Operating     Motion that BP and      the Transocean Defendants.                executed the Macondo Prospect Offshore
     Agreement                      other parties                                                     Deepwater Operating Agreement
     that set forth their           entered into such       [evidentiary objections omitted]          (“Operating Agreement”) that set forth
     agreement among                an agreement. The                                                 their rights and responsibilities, operational
     themselves as to their         Joint Operating                                                   duties, accounting mechanism, and many
     rights and responsibilities,   Agreement and                                                     other terms as to the Macondo Prospect.
     operational duties,            Ratification and                                                  Anadarko also does not dispute that BP,
     accounting mechanism,          Joinder speak for                                                 APC, and AE&P executed a Ratification and
     and many other terms as to     themselves. Their                                                 Joinder of that Operating Agreement on
     the Macondo Prospect. The      interpretation is a                                               December 17, 2009, and that all signatories
     Anadarko Defendants            question of law.                                                  agreed that the Operating Agreement
     executed a Ratification and                                                                      would be effective as of October 1, 2009.
     Joinder of the Joint
     Operating Agreement on or                                                                        Anadarko further submits that it is
     about December 17, 2009.                                                                         undisputed that the Operating Agreement

                                                                         23
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 25 of 37
                     CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                      PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts         BP Response            Transocean Response        Anadarko Response
     [Rec. Doc. 4836-2]              [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]         [Rec. Doc. 5113-3]

     All signatories agreed that                                                       designated BP as the “Operator” of the
     the Joint Operating                                                               Macondo Lease, making BP solely
     Agreement would be                                                                responsible for conducting or causing to be
     retroactively effective as of                                                     conducted all operations on the Macondo
     October 1, 2009.                                                                  leasehold, including, but not limited to,
                                                                                       drilling and exploration operations.
                                                                                       Operating Agreement, Dep. Ex. 1243, APC-
                                                                                       HEC1-000001601, at Art. 2.49, 4.1 (ratified
                                                                                       by APC and AE&P on 12/17/2009) (Ex. 6
                                                                                       hereto); see also 30(b)(6) Deposition of
                                                                                       Patrick O’Bryan, BP’s Vice President of
                                                                                       Drilling & Completions and Interventions for
                                                                                       Gulf of Mexico Deepwater (Ex. 45 hereto)
                                                                                       (“O’Bryan 30(b)(6) Dep.”), at 768:2-5;
                                                                                       768:17-20; 768:22; Deposition of David
                                                                                       Rainey, BP Vice President of Exploration for
                                                                                       the Gulf of Mexico (Ex. 48 hereto) (“Rainey
                                                                                       Dep.”), at 394:20-23. It is further undisputed
                                                                                       that MMS records reflect this formal
                                                                                       designation pursuant to MMS regulatory
                                                                                       requirements. Agency Records at 4814 (Ex.
                                                                                       13 hereto); see also MMS Designation of
                                                                                       Operator Form, BP-HZN-2179MDL02319165
                                                                                       at 9165-66 (12/17/2009) (Ex. 29 hereto).
34   BP is liable as an              This statement is a    Undisputed.                Anadarko objects to U.S. Statement 34
     “operator” of the Macondo       legal conclusion                                  because whether BP is liable as an
     Well under the CWA, 33          rather than a                                     “operator” of the Macondo Well under the
     U.S.C.                          statement of fact                                 CWA, 33 U.S.C. § 1321(b)(7), is a question of
     § 1321(b)(7).                   and is contested for                              law, not a question of fact. Anadarko
                                     the reasons stated                                disputes the United States’ erroneous legal
                                     in BP’s                                           conclusion that BP is liable as an “operator”

                                                                          24
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 26 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response             Transocean Response                Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                 [Rec. Doc. 5113-3]

                                    accompanying                                               of the Macondo Well under the CWA, 33
                                    memorandum of                                              U.S.C. § 1321(b)(7), because no oil
                                    law. Moreover,                                             discharged from the Macondo Well into the
                                    given that BP admits                                       Gulf of Mexico.
                                    that it is a partial
                                    owner of the
                                    Macondo well, this
                                    issue is
                                    unnecessary to
                                    resolve as to BP in
                                    the context of the
                                    present Motion.


35   Pursuant to BP’s               It is uncontested for   Undisputed.                        Anadarko objects to the extent that U.S.
     obligations under its          purposes of this                                           Statement 35 is not a statement of fact
     Agreements with MOEX           Motion that BP          [evidentiary objections omitted]   material to any issue raised in the United
     and Anadarko, BP               prepared such an                                           States’ Motion. Anadarko does not dispute
     prepared an Authorization      Authorization that                                         that pursuant to BP’s obligations under its
     for Expenditure for the        was executed by                                            Agreements with MOEX and Anadarko, BP
     drilling of the initial        BP, MOEX and                                               prepared an Authorization for Expenditure
     exploratory well, Macondo      Anadarko. That                                             (“AFE”) for the drilling of the initial
     Well. The AFE was              Authorization and                                          exploratory well, the Macondo Well.
     executed by BP, MOEX, and      the Agreements                                             Anadarko also does not dispute that the
     Anadarko (Exs. 6, 7 hereto).   speak for                                                  AFE was executed by BP, MOEX, and
                                    themselves. Their                                          Anadarko, and further submits that APC
                                    interpretation is a                                        and AE&P executed the AFE on December
                                    question of law.                                           17, 2009. See Authorization for Expenditure,
                                                                                               Dep. Ex. 1919, APC-SHS2A-000001082 at
                                                                                               1082 (12/17/2009) (Ex. 20 hereto). It is also
                                                                                               undisputed that BP and Anadarko did not

                                                                          25
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 27 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response             Transocean Response                Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                 [Rec. Doc. 5113-3]

                                                                                               consider an AFE under the Operating
                                                                                               Agreement to be a request for input from
                                                                                               Anadarko with regard to well design or
                                                                                               drilling operations. Beirne Dep. at 392:4-17
                                                                                               (Ex. 35 hereto).
36   Two supplemental AFEs          It is uncontested for   Undisputed.                        Anadarko objects to the extent that U.S.
     were prepared to cover         purposes of this                                           Statement 36 is not a statement of fact
     additional costs related to    Motion that BP          [evidentiary objections omitted]   material to any issue raised in the United
     the drilling of                prepared such                                              States’ Motion. Anadarko does not dispute
     the Macondo Well. These        Supplemental                                               that two supplemental AFEs were prepared
     AFEs were executed by BP,      Authorizations that                                        to cover additional costs related to the
     MOEX, and Anadarko. (Exs.      were executed by                                           drilling of the Macondo Well, and these
     6, 8, 9 hereto).               BP, MOEX, and                                              AFEs were executed by BP, MOEX, and
                                    Anadarko. The                                              Anadarko. Anadarko further submits that
                                    supplemental AFEs                                          APC and AE&P executed these AFEs on
                                    speak for                                                  February 18, 2010, and March 30, 2010. See
                                    themselves. Their                                          Authorization for Expenditure, Dep. Ex. 1920,
                                    interpretation is a                                        ANA-MDL-000030713 at 0714 (2/18/2010)
                                    question of law.                                           (Ex. 21 hereto); Second Supplemental
                                                                                               Authorization for Expenditure, Dep. Ex. 1921,
                                                                                               ANAMDL- 000030687 at 0690 (3/30/2010)
                                                                                               (Ex. 22 hereto).
37   A fourth AFE was prepared      It is uncontested for   Undisputed.                        Anadarko objects to the extent that U.S.
     to authorize funding for the   purposes of this                                           Statement 37 is not a statement of fact
     production casing for the      Motion that BP          [evidentiary objections omitted]   material to any issue raised in the United
     Macondo Well. This AFE         prepared such a                                            States’ Motion. Anadarko does not dispute
     was executed on or around      Fourth                                                     that a fourth AFE was prepared to authorize
     April 15, 2010, by BP,         Authorization that                                         funding for the production casing for the
     MOEX and                       was executed by                                            Macondo Well, and that this AFE was
     Anadarko. (Exs. 6, 10          BP, MOEX and                                               executed on April 15, 2010, by BP, MOEX,
     hereto).                       Anadarko. The                                              APC, and AE&P. See, e.g., Authorization

                                                                          26
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 28 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response             Transocean Response                Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                 [Rec. Doc. 5113-3]

                                    fourth AFE speaks                                          for Expenditure, Dep. Ex. 1922, ANA-MDL
                                    for itself. Its                                            000030726 at 0727-28 (4/15/2010) (Ex. 23
                                    interpretation is a                                        hereto).
                                    question of law.
38   From January through May,      It is uncontested for   Undisputed.                        Anadarko objects to the extent that U.S.
     2010, BP sent “Joint           purposes of this                                           Statement 38 is not a statement of fact
     Interest Billings” (JIBs) or   Motion that BP sent     [evidentiary objections omitted]   material to any issue raised in the United
     invoices to                    Joint Interest                                             States’ Motion. Anadarko does not dispute
     co-owners MOEX and APC,        Billings (“JIBs”) or                                       that from January through May, 2010, BP
     which requested                invoices to MOEX                                           sent invoices to MOEX and APC, which
     reimbursement to BP for        and APC. The JIBs                                          requested reimbursement to BP for MOEX’s
     the MOEX and                   speak for                                                  and APC’s proportionate share of costs of
     APC’s proportionate share      themselves. Their                                          casing and other physical components of
     of costs of casing and other   interpretation is a                                        the Macondo Well. Anadarko further
     physical components of the     question of law.                                           submits that it is undisputed that BP did not
     Macondo Well.                                                                             send such invoices to AE&P. See, e.g., Dep.
                                                                                               Ex. 4204, 4206, 4208, 4210, and 4212 (Exs.
                                                                                               24, 25, 26, 27, and 28 hereto) (January-May
                                                                                               2010 invoices from BP to APC, which do not
                                                                                               list AE&P as a recipient); see also 30(b)(6)
                                                                                               Deposition of Jerry Byrd, Anadarko Manager
                                                                                               of Joint Interest Accounts and former
                                                                                               Manager of Accounts Payable in the AFE
                                                                                               Group (Ex. 39 hereto) (“Byrd 30(b)(6) Dep.”),
                                                                                               at 87:18-22; 87:24-88:11; 88:13-16; 93:1-5
                                                                                               (in reference to Dep. Ex. 4208 (Ex. 26
                                                                                               hereto), Byrd testified, “Anadarko Petroleum
                                                                                               Corporation . . . [is] the only party that’s
                                                                                               being billed on this invoice for 33 percent.”
                                                                                               He further stated, “I have only seen invoices
                                                                                               addressed to Anadarko Petroleum

                                                                          27
                        Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 29 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts      BP Response            Transocean Response                   Anadarko Response
     [Rec. Doc. 4836-2]           [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]                    [Rec. Doc. 5113-3]

                                                                                               Corporation”).

39   The JIBs itemized tangible   The JIBs speak for     Undisputed.                           Anadarko objects to the extent that U.S.
     equipment – physical         themselves. Their                                            Statement 39 is not a statement of fact
     assets, such as the well     interpretation is a                                          material to any issue raised in the United
     head and casing              question of law.                                             States’ Motion. Anadarko does not dispute
     – which was included as                                                                   that the invoices itemized tangible
     part of the proportionate                                                                 equipment—physical assets, such as the
     costs to be reimbursed by                                                                 wellhead and casing—which was included
     APC and MOEX.                                                                             as part of the proportionate costs to be
                                                                                               reimbursed by APC and MOEX.
40   The JIBs for Macondo well    The JIBs speak for     Undisputed.                           Anadarko objects to the extent that U.S.
     costs did not include BP’s   themselves. Their                                            Statement 40 is not a statement of fact
     proportionate share of the   interpretation is a                                          material to any issue raised in the United
     Macondo Well. BP retained    question of law.                                             States’ Motion. Nevertheless, Anadarko
     a 65% ownership interest                                                                  does not dispute that the invoices for
     in the Macondo Well.                                                                      Macondo Well costs did not include BP’s
                                                                                               proportionate share of the Macondo Well
                                                                                               and that BP retained a 65% interest in the
                                                                                               Macondo Well.
41   BP is a Delaware             BP Exploration &       Undisputed.                           Anadarko does not dispute that BP
     corporation.                 Production Inc. is a                                         Exploration & Production, Inc. is a Delaware
                                  Delaware               [evidentiary objections omitted]      corporation.
                                  corporation.
42   The Transocean               Uncontested for        Undisputed that “one or more of the   Anadarko does not dispute that the
     Defendants admits that       purposes of this       Transocean Defendants were the        Transocean Defendants admit that one or
     one or more of the           Motion, provided       owners, owners pro hac vice, and/or   more of the Transocean Defendants were
     Transocean Defendants        that the               operators of the MODU Deepwater       the owners, owners pro hac vice, and/or
     were the owners, owners      government             Horizon.” (emphasis added.)           operators of the MODU Deepwater
     pro hoc vice, and/or         intended to                                                  Horizon.
     operators of the MODU        describe the

                                                                       28
                     Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 30 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts     BP Response          Transocean Response                        Anadarko Response
     [Rec. Doc. 4836-2]          [Rec. Doc. 5124-1]   [Rec. Doc. 5103-1]                         [Rec. Doc. 5113-3]

     Deepwater Horizon.          Transocean
                                 Defendants as
                                 owners pro hac
                                 vice.
43   The Transocean              Uncontested for      Undisputed that Defendant Triton           Anadarko does not dispute that the
     Defendants have admitted    purposes of this     Asset Leasing GmbH was the owner           Transocean Defendants have admitted their
     their ownership of the      Motion.              of the Deepwater Horizon.                  ownership of the Deepwater Horizon in
     Deepwater Horizon in                                                                        pleadings, discovery, and public reports.
     pleadings, discovery, and                        Disputed that any other Transocean
     public reports.                                  Defendant owned the Deepwater
                                                      Horizon. The Complaint and Petition
                                                      for Exoneration from or Limitations of
                                                      Liability (Ex. 38) cited by the United
                                                      States does not show that any
                                                      particular Transocean entity was an
                                                      owner of the Deepwater Horizon.
                                                      Instead, it is alleged in paragraph 6 of
                                                      that pleading only that “Petitioners
                                                      were at all times material hereto
                                                      the Owner, Managing Owners,
                                                      Owners Pro Hac Vice, and/or
                                                      Operators, of the MODU Deepwater
                                                      Horizon, etc., and/or are considered
                                                      ‘owners’ of the vessel under the
                                                      Limitation of Liability Act, 46 U.S.C.
                                                      30501 et seq., as a party or parties
                                                      sought to be held liable ‘as owner’ of
                                                      the MODU Deepwater Horizon . . . .”
                                                      (emphasis added.) The general
                                                      reference to “Transocean” in the
                                                      response to BP’s Interrogatory No. 34

                                                                   29
                     Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 31 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts    BP Response          Transocean Response                        Anadarko Response
     [Rec. Doc. 4836-2]         [Rec. Doc. 5124-1]   [Rec. Doc. 5103-1]                         [Rec. Doc. 5113-3]

                                                     cited (Ex. 37) and in the Internal
                                                     Investigation Report cited (Ex. 25) are
                                                     generic references and do not support
                                                     that any particular Transocean entity
                                                     owned the Deepwater Horizon,
                                                     particularly given Defendants’ specific
                                                     response cited by the United States
                                                     from BP’s RFA Nos. 5, 6 (Ex. 36) that
                                                     “‘Triton Asset Leasing GmbH was the
                                                     owner of the Deepwater Horizon’ . . .
                                                     ‘and no other entity’”.

44   The Transocean             Uncontested for      Undisputed that Defendant                  Anadarko does not dispute that the
     Defendants have admitted   purposes of this     Transocean Deepwater Inc. operated         Transocean Defendants have admitted their
     their operation of the     Motion.              the Deepwater Horizon.                     operation of the MODU Deepwater Horizon
     MODU Deepwater                                                                             in pleadings and discovery.
     Horizon in pleadings and                        Disputed that any other Transocean
     discovery.                                      entity operated the Deepwater
                                                     Horizon. The Complaint and Petition
                                                     for Exoneration from or Limitations of
                                                     Liability (Ex. 38) cited by the United
                                                     States does not show that any
                                                     particular Transocean entity operated
                                                     the Deepwater Horizon. Instead, it is
                                                     alleged in paragraph 6 of that pleading
                                                     only that “Petitioners were at all times
                                                     material hereto the Owner, Managing
                                                     Owners, Owners Pro Hac Vice, and/or
                                                     Operators, of the MODU Deepwater
                                                     Horizon, etc., and/or are considered
                                                     ‘owners’ of the vessel under the

                                                                  30
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 32 of 37
                   CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts       BP Response            Transocean Response                      Anadarko Response
     [Rec. Doc. 4836-2]            [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]                       [Rec. Doc. 5113-3]

                                                          Limitation of Liability Act, 46 U.S.C.
                                                          30501 et seq., as a party or parties
                                                          sought to be held liable ‘as
                                                          owner’ of the MODU Deepwater
                                                          Horizon . . . .” (emphasis added.) The
                                                          general reference to “Transocean” in
                                                          the response to responses to the
                                                          United States Requests for Admission
                                                          are generic references only and do not
                                                          support that any particular
                                                          Transocean entity operated the
                                                          Deepwater Horizon, particularly given
                                                          Defendants’ specific response cited by
                                                          the United States to BP’s Request for
                                                          Admission No. 12 (Ex. 36) that the
                                                          OIM aboard the Deepwater Horizon
                                                          was employed by Defendant
                                                          Transocean Deepwater Inc.

45   The Transocean                Uncontested for        Undisputed.                              Anadarko does not dispute that Transocean
     Defendants are                purposes of this                                                Offshore Deepwater Drilling Inc.,
     corporations.                 Motion.                                                         Transocean Deepwater Inc., Transocean
                                                                                                   Holdings LLC, and Triton Asset Leasing
                                                                                                   GmbH are corporations.
46   Beginning in January, 2010,   Disputed in part. It   The Transocean Defendants object         Anadarko objects to the extent that U.S.
     and continuing through        is undisputed for      that this statement is directed to the   Statement 46 is not a statement of fact
     May, 2010, APC received       purposes of this       liability of the Anadarko Defendants     material to any issue in the United States’
     requests                      Motion that APC        and is irrelevant as to the Transocean   Motion. Anadarko does not dispute that
     for payment from BP for       timely paid the JIBs   Defendants.                              from January through May, 2010, APC
     costs associated with the     for January 2010                                                received requests for payment from BP for
     construction of the           through March                                                   costs associated with the construction of

                                                                        31
                       Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 33 of 37
                     CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                      PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts         BP Response            Transocean Response                      Anadarko Response
     [Rec. Doc. 4836-2]              [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]                       [Rec. Doc. 5113-3]

     Macondo Well in the form        2010 operations at                                              the Macondo Well in the form of invoices
     of invoices and cash call       the Macondo                                                     and cash call advances, which it paid
     advances, which it paid         Well. The                                                       timely. APC does not dispute that it paid
     timely. APC paid invoices       agreements speak                                                invoices from BP for its proportionate share
     from BP for its                 for themselves, and                                             of the costs of the components that were
     proportionate share of the      their interpretation                                            installed in the Macondo Well. Anadarko
     costs of the components         is a matter of law.                                             further submits that it is undisputed that
     that were installed in the      The remaining                                                   AE&P received no requests for payment
     Macondo Well.                   assertions in this                                              from BP between January and May,
                                     paragraph are                                                   2010. See Anadarko Response to U.S.
                                     unsupported by                                                  Statement 38, supra.
                                     and/or contradicted
                                     by the evidence. See
                                     Ex. 1 (J. Byrd Dep.)
                                     at 91:24–93:11.

47   In the invoices, which also     The JIBs speak for     The Transocean Defendants object         Anadarko objects to the extent that U.S.
     include costs associated        themselves. Their      that this statement is directed to the   Statement 47 is not a statement of fact
     with other Wells, the costs     interpretations        liability of the Anadarko Defendants     material to any issue in the United States’
     for the Macondo Well are        represent a            and is irrelevant as to the Transocean   Motion. Anadarko does not dispute that in
     identified and tracked by       question of law.       Defendants.                              the invoices, which also include costs
     the reference number to                                                                         associated with other wells, the costs for
     the Authorization for                                                                           the Macondo Well are identified and
     Expenditure executed by                                                                         tracked by the reference number to the
     APC for the Macondo Well.                                                                       Authorization for Expenditure executed by
                                                                                                     APC for the Macondo Well.
48   The invoices were itemized      The JIBs speak for     The Transocean Defendants object         Anadarko objects to the extent that U.S.
     to include strings of casing,   themselves. Their      that this statement is directed to the   Statement 48 is not a statement of fact
     cement, production casing,      interpretations        liability of the Anadarko Defendants     material to any issue in the United States’
     casing hanger, casing           represent a            and is irrelevant as to the Transocean   Motion. Anadarko does not dispute that the
     accessories, and the well       question of law.       Defendants.                              invoices were itemized to include strings of

                                                                        32
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 34 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response            Transocean Response                      Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]                       [Rec. Doc. 5113-3]

     head.                                                                                          casing, cement, production casing, casing
                                                                                                    hanger, casing accessories, and the
                                                                                                    wellhead.
49   APC paid its 33.33% (or,       Disputed in part. It   The Transocean Defendants object         Anadarko objects to the extent that U.S.
     25% after 110% of the well     is undisputed for      that this statement is directed to the   Statement 49 is not a statement of fact
     costs of the initial AFE was   purposes of this       liability of the Anadarko Defendants     material to any issue in the United States’
     exceeded) proportionate        Motion that APC        and is irrelevant as to the Transocean   Motion. Anadarko does not dispute that
     share of costs associated      timely paid the JIBs   Defendants.                              APC paid 33.33% (or 25%, after 110% of the
     with the Macondo Well,         for January 2010                                                estimated well costs in the initial AFE were
     including the costs of the     through March                                                   exceeded) of costs associated with
     tangible personal property,    2010 operations at                                              construction of the Macondo Well,
     from October 1, through        the Macondo                                                     including the costs of the tangible personal
     April 20, 2010. It did not     Well. The                                                       property, incurred between October 1,
     pay any of the costs of the    agreements speak                                                2009 and April 20, 2010. Anadarko further
     incident or response to the    for themselves, and                                             submits that it is undisputed that prior to
     explosion and spill. The       their interpretation                                            its settlement with BP on October 16, 2011,
     final costs were paid          is a matter of law.                                             APC did not reimburse BP for any of the
     through draw-down of a         The remaining                                                   costs of the incident or response to the
     cash advance or cash call.     assertions in this                                              explosion and spill. Anadarko further states
                                    paragraph are                                                   that it is undisputed that, like many other oil
                                    unsupported by                                                  and gas exploration companies, Anadarko
                                    and/or contradicted                                             voluntarily contributed certain personnel
                                    by the                                                          and equipment to assist in the oil spill
                                    evidence. See Ex. 1                                             response effort led by the United States
                                    (J. Byrd Dep.) at                                               Coast Guard. Anadarko further states that it
                                    91:24–93:11.                                                    is undisputed that BP invoiced APC for costs
                                                                                                    associated with drilling the Macondo Well
                                                                                                    through May 2010, and that APC paid the
                                                                                                    portion of the May 2010 invoice addressing
                                                                                                    pre-incident costs through advance
                                                                                                    payments. See May 2010 Invoice from BP to

                                                                       33
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 35 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response            Transocean Response                      Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]     [Rec. Doc. 5103-1]                       [Rec. Doc. 5113-3]

                                                                                                    APC, Dep. Ex. 4212, ANA-MDL-000073379
                                                                                                    (Ex. 28 hereto); Byrd 30(b)(6) Dep. at
                                                                                                    94:13-21; 94:23-95:2; 96:7-9; 96:11-19; 97:9-
                                                                                                    16 (Ex. 39 hereto). It is further undisputed
                                                                                                    that APC believed that it had paid BP for its
                                                                                                    entire share of the cost related to drilling
                                                                                                    the Macondo Well pursuant to the AFE.
                                                                                                    Byrd 30(b)(6) Dep. at 92:11-13; 96:21-97:8
                                                                                                    (Ex. 39 hereto). Anadarko further submits
                                                                                                    that it is undisputed that AE&P did not
                                                                                                    receive any invoices from BP for any costs
                                                                                                    incurred in association with the
                                                                                                    construction of the Macondo Well between
                                                                                                    October 1, 2009 and April 20, 2010, and it is
                                                                                                    further undisputed that AE&P did not
                                                                                                    reimburse BP for any such costs. See
                                                                                                    Anadarko Response to U.S. Statement 38,
                                                                                                    supra.
50   APC paid the proportionate     Disputed in part. It   The Transocean Defendants object         Anadarko objects to U.S. Statement 50
     share of costs sent to it on   is undisputed for      that this statement is directed to the   because the phrase “proportionate share of
     its own behalf.                purposes of this       liability of the Anadarko Defendants     costs sent to it on its own behalf” is
                                    Motion that APC        and is irrelevant as to the Transocean   unintelligible.
                                    timely paid the JIBs   Defendants.
                                    for January 2010
                                    through March
                                    2010 operations at
                                    the Macondo
                                    Well. The
                                    agreements speak
                                    for themselves, and
                                    their interpretation

                                                                       34
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 36 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts       BP Response           Transocean Response                      Anadarko Response
     [Rec. Doc. 4836-2]            [Rec. Doc. 5124-1]    [Rec. Doc. 5103-1]                       [Rec. Doc. 5113-3]

                                   is a matter of law.
                                   Any remaining
                                   assertions in this
                                   paragraph are
                                   unsupported by
                                   and/or contradicted
                                   by the
                                   evidence. See Ex.
                                   1(J. Byrd Dep.) at
                                   91:24–93:11.


51   APC was a partial owner of    This statement        The Transocean Defendants object         Anadarko does not dispute that APC was a
     the components that were      represents a legal    that this statement is directed to the   partial owner of the components
     installed in the Macondo      conclusion rather     liability of the Anadarko Defendants     comprising the Macondo Well that were
     Well, including the strings   than a statement of   and is irrelevant as to the Transocean   installed in the wellbore, including the
     of casing, cement,            fact.                 Defendants.                              strings of casing, cement, production
     production casing, casing                                                                    casing, casing hanger, and the wellhead.
     hanger, and the well head.
52   APC was a partial owner of    This statement        The Transocean Defendants object         Anadarko does not dispute that APC was a
     tangible personal property    represents a legal    that this statement is directed to the   partial owner of tangible personal property
     comprising the Macondo        conclusion rather     liability of the Anadarko Defendants     comprising the Macondo Well.
     Well.                         than a statement of   and is irrelevant as to the Transocean
                                   fact.                 Defendants.
53   APC was an owner of the       This statement        The Transocean Defendants object         Anadarko objects to U.S. Statement 53 to
     Macondo Well.                 represents a legal    that this statement is directed to the   the extent that the statement that APC is an
                                   conclusion rather     liability of the Anadarko Defendants     “owner” of the Macondo Well for purposes
                                   than a statement of   and is irrelevant as to the Transocean   of the Clean Water Act, 33 U.S.C. § 1321, or
                                   fact.                 Defendants.                              other applicable law, is a statement of law,
                                                                                                  not a statement of fact. Nevertheless,
                                                                                                  Anadarko does not dispute that, as a

                                                                     35
                      Case 2:10-md-02179-CJB-DPC Document 5214-1 Filed 01/16/12 Page 37 of 37
                    CHART OF UNITED STATES’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT AND DEFENDANTS BP, TRANSOCEAN AND ANADARKO’S RESPONSES

     U.S. Statement of Facts        BP Response             Transocean Response                      Anadarko Response
     [Rec. Doc. 4836-2]             [Rec. Doc. 5124-1]      [Rec. Doc. 5103-1]                       [Rec. Doc. 5113-3]

                                                                                                     matter of law, APC was a partial owner of
                                                                                                     the Macondo Well.
54   Anadarko E&P is a limited      BP lacks knowledge      The Transocean Defendants object         Anadarko does not dispute that AE&P is a
     liability company              or information          that this statement is directed to the   limited liability company incorporated in
     incorporated in the State of   sufficient to form a    liability of the Anadarko Defendants     the State of Delaware.
     Delaware.                      belief about the        and is irrelevant as to the Transocean
                                    truth of this           Defendants.
                                    paragraph to the
                                    extent it is not
                                    directed at the
                                    conduct or liability
                                    of BP.
                                    The authority cited
                                    by the government
                                    establishes only that
                                    A E&P was
                                    incorporated in
                                    Delaware. See
                                    Answer of Anadarko
                                    Petroleum
                                    Corporation ¶ 16.
55   Anadarko Petroleum             Uncontested for         The Transocean Defendants object         Anadarko does not dispute that APC is a
     Corporation is a               purposes of this        that this statement is directed to the   corporation incorporated in the State of
     corporation incorporated       Motion.                 liability of the Anadarko Defendants     Delaware.
     in the State of Delaware.                              and is irrelevant as to the Transocean
                                                            Defendants.




                                                                        36
